           Case 8:19-ap-01202-TA                  Doc 15 Filed 02/13/20 Entered 02/13/20 18:03:18                                     Desc
                                                   Main Document    Page 1 of 4



  Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
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       Individual appearing without attorney
       Attorney for Defendant

                                          UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

  In re:
                                                                              CASE NO.: 8:19-bk-12480-TA
  GUY GRIFFITHE,                                                              CHAPTER: 7
                                                                              ADVERSARY NO: 8:19-ap-01202-TA
                                                               Debtor(s).

  Gregory Wick,

                                                              Plaintiff(s),   NOTICE OF LODGMENT OF ORDER OR
                                    vs.                                       JUDGMENT IN ADVERSARY PROCEEDING
  GUY GRIFFITHE
                                                                              RE:
                                                                              APPLICATION FOR ORDER SETTING
                                                              Defendant.
                                                                              HEARING ON SHORTENED NOTICE [LBR
                                                                              9075-1(b)]




PLEASE TAKE NOTE that the order or judgment titled ORDER GRANTING APPLICATION FOR ORDER
SETTING HEARING ON SHORTENED NOTICE [LBR 9075-1(b)] was lodged on 02-13-2020 and is attached.
This order relates to the motion which is docket number 14.




           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2012                                                        Page 1                  F 9021-1.2.ADV.NOTICE.LODGMENT
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     Attorney for Defendant Guy Griffithe
 6
 7
 8                            UNITED STATES BANKRUPTCY COURT

 9                             CENTRAL DISTRICT OF CALIFORNIA
10
                                          SANTA ANA DIVISION
11
12
      In re                                              Case No. 8:19-bk-12480-TA
13
14    GUY GRIFFITHE,                                     Adv. 8:19-ap-01202-TA

15              Debtor.                                  Before the Honorable Theodor C. Albert

16    GREGORY WICK,                                      Chapter 7
17
                          Plaintiff                      ORDER GRANTING MOTION TO
18                                                       WITHDRAW AS COUNSEL OF RECORD
      vs.                                                FOR DEFENDANT GUY GRIFFITHE
19
      GUY GRIFFITHE                                      [No Hearing Required per LBR 9013-1(p)(4)]
20
                          Defendant
21
22
23
              The Motion to Withdraw as Counsel of Record for Defendant Guy Griffithe brought by
24
25   attorney Baruch C. Cohen (hereinafter referred to as “Cohen”), was filed pursuant to LBR 9013-

26   1(p)(4). Based on the Motion, the lack of Opposition, and for good cause, this Court orders as

27   follows:
28

                                                     1
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 1        The Motion to Withdraw as Counsel of Record for Defendant Guy Griffithe is hereby
 2   GRANTED.
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                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                               4929 Wilshire Boulevard, Suite 940, Los Angeles, California 90010.

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER OR JUDGMENT IN
ADVERSARY PROCEEDING will be served or was served (a) on the judge in chambers in the form and manner required
by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On 2/13/2020,
I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons
are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Thomas H Casey (TR)                  msilva@tomcaseylaw.com, thc@trustesolutions.net
United States Trustee (SA)           ustpregion16.sa.ecf@usdoj.gov


                                                                                         Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On 2/13/2020, I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Gregory Wick, 45159 Vine Cliff St, Temecula, CA 92592



                                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 2/13/2020, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Honorable Theodor C. Albert, 411 West Fourth Street, Suite 5085, Santa Ana, CA 92701-4593




                                                                                         Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



  2/13/2020              Baruch C. Cohen, Esq.                                                /s/ Baruch C. Cohen
  Date                         Printed Name                                                   Signature




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